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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,
                                                            Crirn No. 09-558 (DRD)
                -against

ALMLESHA BILLUPS.
         alkia “Me-Me,” Ct al,                              CONSENT ORDER

                         Defendants


         WHEREAS the defendant Almisha Billups was sentenced to serve a term of twelve (:12)
                                                                                                 the
months and one day; and was Ordered to report to serve her sentence when notified to do so by

Court; and

         WHEREAS the defendant was directed to report to the Federal Correctionai Institution at
                                                                                        and
Danbury, CT, before noon on Tuesday, January 25,2011, to commence serving her sentence;
                .




         WHEREAS defendant is the mother and custodial parent of a nine-year-old son who has

ananged for him to begin living with his father on February 1,2011; and
                                                                                               begin
         WHEREAS the defendant. has moved that she be granted until February 2, 201 I, to

serving this sentence;

         AND with the consent of the government, and after due deliberation, it is hereby

ORDERED:

          That date by which defendant Almisha Billups must report to the Federal Correc
                                                                                               tional

                                                                                          February 2,
 Institution at Danbury, Connecticut, is hereby delayed by one (1) week, until Tuesday.

 2011.

          The Judgment and Commitment Order of December 7,20:11, remains otherwise unchanged.


 Dated                                                          1
                                                                                     I
                                                                    I.



                                                      Dickenson R Debevoise, U S D I
